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COMMONWEALTH OF MASSACHUSETTS

ESSEX, ss. SUPERIOR COURT
DOCKET NO.

 

YANIL HENRIQUEZ,

Plaintiff,
v.

CITY OF LAWRENCE,
CHIEF OF POLICE JOHN ROMERO,

and
OFFICER CLAUDIO CAMACHO

Defendants

 

PLAINTLEE’S VERIFIED COMPLAINT AND DEMAND FOR JURY TRIAL

NOW COMES Yanil Henriquez, Plaintiff in the above-captioned matter, by and through
her attorney, Marsha V. Kazarosian, Esquire, of KAZAROSIAN, COSTELLO & O’DONNELL,
LLP, and hereby complains against Defendants City of Lawrence, City of Lawrence Chief of
Police John Romero, and City of Lawrence Police Officer Claudio Camacho, for violations of
the Fourth, Fifth and Fourteenth Amendments of the Constitution of the United States, 42 USC §
1983, MGL c. 12 §§11H-I, the Massachusetts Torts Claims Act, and the common law of the
Commonwealth of Massachusetts pursuant to unlawful arrest, use of excessive force,
mistreatment, assault and battery, false imprisonment, intentional inflectional of emotional
distress, negligent infliction of emotional distress, negligence, and severe physical and emotional
injuries suffered by the Plaintiff as a result of the Defendants’ wrongful actions and/or
omissions, as more particularly set forth below.

Further, Plaintiff seeks attorneys’ fees and costs pursuant to the within referenced

 

 
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sections of the United States Code as well as the Massachusetts Civil Rights Statute, against
individual Defendants and the municipality which promoted, fostered, permitted, and/or adopted
policies, procedures, and engaged in omissions for its law enforcement officers which were the
direct and proximate cause of the intimidation, coercion, damages, physical abuse, and other
damages suffered by Plaintiff in violation of her rights, privileges, and immunities secured by the
Constitution of the United States and the Commonwealth of Massachusetts.
Moreover, Plaintiff seeks Punitive Damages.
JURISDICTION
This Action is brought pursuant to 42 USC §§ 1983 and 1988, as well as the Fourth, Fifth
and Fourteenth Amendments to the United States Constitution. Jurisdiction is founded upon 28
USC §§1331 and 1343. Plaintiff further invokes the supplemental jurisdiction of this Court
under 28 USC §1367 to hear and decide claims arising under Massachusetts law.
PARTIES
1. Plaintiff, Yanil Henriquez, (hereinafter “Ms. Henriquez’), resides at 61 Berkeley Street,
Lawrence, Essex County, Massachusetts.
2. Defendant, City of Lawrence, (hereinafter “City”), is a municipality established and
existing under the General Laws of the Commonwealth of Massachusetts with its City
Hall located at 200 Common Street, Lawrence, Massachusetts, and was at ali times
relevant the employer of Chief of Police John Romero, and Officer Claudio Camacho,
and is a public employer within the meaning of MGL c, 258 §1.
3. At all times relevant, City promulgated and otherwise adopted under color of Jaw certain
rules, practices, procedures and policies for use by its law enforcement officers as well as

certain ordinances, by-laws, custom and usages, which allowed and/or encouraged the

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actions taken by the individual Defendants which thereby deprived Ms. Henriquez of her
rights and privileges under the Constitution and laws of the United States and
Commonwealth of Massachusetts.
Defendant John Romero, Lawrence Police Department Chief of Police, (hereinafter
“Romero”), is named in his individual and official capacity and was at all times relevant
the duly appointed Chief of the Lawrence Police Department (“hereinafter Department”),
acting under color of law and employed by City, with an office within the Department at
90 Lowell Street, Lawrence, Massachusetts.
At all times relevant, Romero was acting in his individual capacity and/or his official
capacity as Department Chief of Police. His acts and/or omissions as Department Chief
of Police were performed under color of law, regulations, ordinances, rules, customs and
usage of City and the Statutes of the Commonwealth of Massachusetts.
Defendant Claudio Camacho (hereinafter “Camacho”) is named in his individual and
official capacity and was at all times relevant employed as a Police Officer by City and
was acting in such capacity as an agent, servant or employee of City and Department, and
was acting under the direction and contro! of Romero, City, and Department, and was
acting under color of law pursuant to either official policy, or to the custom, practice, and
usage of City and Department and the Statutes of the Commonwealth of Massachusetts.
FACTS
On or about the evening of March 2, 2013, and into the early morning of March 3, 2013,
Ms. Henriquez attended a concert featuring the artist “Black Jonas Point,” at (then-
named) Club Rio (hereinafter “Rio”), located at 9 Appleton Strect in Lawrence,

Massachusetts.

 

 
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8. Also present at the concert was Maria Ventura (hereinafter “Ventura”), although Ventura
and Ms. Henriquez attended the concert separately. Ventura is/was an acquaintance of
Ms. Henriquez.

9. At or about 1:15 a.m. on March 3, 2013, Ms. Henriquez, while waiting to be picked up by
her ride, was acting in an orderly manner while standing on the front steps of Rio.

10. Ms. Henriquez was lawfully on the premises of Rio, was a patron and/or invitee of Rio,
and was not trespassing.

Ll. Without cause or provocation, Camacho approached Ms. Henriquez as she stood in front
of Rio and began questioning, berating, and intimidating her. When Camacho
approached Ms. Henriquez, Ms. Henriquez was on her cell phone, attempting to reach her
sister to arrange to be picked up.

12, Camacho ordered Ms. Henriquez to move off the steps for no apparent reason. Camacho
then informed Ms. Henriquez that he would be counting to three, and that if she did not
move by the time he counted to three, Camacho would pepper spray her.

13. Camacho then counted to three. Immediately after counting to three, Camacho pepper
sprayed Ms. Henriquez directly in her face and eyes without cause or provocation.

14, Upon being pepper sprayed, Ms. Henriquez was unable to see. Instinctively,

Ms. Henriquez brought her arms to her face and began trying to clear the pepper spray
out of her eyes with her hands.

LS. Suddenly, and without warning, cause, or provocation, Camacho, with a closed fist,
punched Ms. Henriquez directly on the left side of her face, making contact with her

cheek, upper jaw, and eye.

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Upon being punched by Camacho and having been pepper-sprayed, Ms. Henriquez was
immediately incapacitated and was still unable to see.

Camacho, again without warning, cause, or provocation, proceeded to violently grab

Ms. Henriquez by the neck and threw her to the ground.

During this time, Ms. Henriquez was unable to defend herself, and began screaming for
help.

Despite her pleas for help, Camacho pinned Ms. Henriquez. to the ground with the full
force of his weight, and banged Ms. Henriquez’s head on the ground, while continuing to
yell at her, berate her, and humiliate her in front of onlookers.

Ms. Henriquez then felt herself being picked up off the ground and handcuffed. Ms.
Henriquez did not struggle or make any movements of her own volition during this time.
Ms. Henriquez was then escorted to a police cruiser.

As she was being escorted to the cruiser, Ms. Henriquez was bleeding profusely from her
nose and was unable to walk under her own power.

Ms. Henriquez was then transported to the Department Station. Upon arrival at the
Department Station, Ms. Henriquez was placed in a holding cell, where she was kept for
at least ninety minutes.

Ms. Henriquez. made repeated pleas and requests for medical attention while being held
in the cell. However, no one offered her or provided her with any medical attention.

In response to Ms. Henriquez’s pleas for medical attention, Sargent Guerrero, a
Department employee who was present at the Department Station at the time, stated to

Ms. Henriquez that she would not be receiving any medical attention, and that if the

 

 
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Department complied with every request for medical attention, the “hospital would be a
circus.”

At all times relevant, Ms, Henriquez conducted herself in an orderly manner.

Ventura witnessed the events set forth above, starting from when Ms. Henriquez. was
approached by Camacho, until Ms. Henriquez was escorted into the police cruiser.
Camacho, without justification, cause, or provocation, used unnecessary and/or excessive
force, and in doing so, inflicted personal injuries upon Ms. Henriquez’s head and body.
As a result of the head and body injuries inflicted upon Ms. Henriquez by Camacho,

Ms. Henriquez suffered facial and scalp contustons and a fracture of the left medial
orbital wall with extensive periorbital and facial subcutaneous edema extending into the
left extraconal fat, among other injuries to her head, shoulders and arms, and neck.

Ms. Henriquez suffered and continues to suffer from physical pain, including headaches
and pain in her shoulder and arm, severe emotional distress, anxiety, fear, insomnia,
embarrassment, and stress.

In addition to her physical and emotional injuries, Ms. Henriquez also continues to feel
anxious and paranoid at the sight or thought of a police officer.

Prior to March 3, 2013, City and Romero had available to them, were aware of, and/or
were possessed of information that numerous individuals had made numerous allegations
of excessive force against Department Officers, yet neither City nor Romero took
appropriate steps to investigate, discipline, supervise, monitor, or train their Officers in
order to safeguard citizens against the possibility of harm resulting from such actions,
thereby exhibiting extreme and/or deliberate indifference to the safety of persons who
may come in contact with their Officers, and willfully turning a blind eye to the dangers

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posed to persons in contact with their Officers, thereby engaging in a pattern and/or
practice of deliberate indifference to and/or reckless disregard for the omissions and
conduct that caused damage to Ms. Henriquez.

33. Ms. Henriquez properly gave notice to Lawrence pursuant to M.G.L. c. 258, Section 4.

CAUSES OF ACTION
COUNT L[ (Violations of 42 U.S.C. Section 1983) and the Fourth, Fifth and Fourteenths
Amendments for Use of Unreasonable Force and Deprivation of Rights
(Yanil Henriquez v. Camacho)

34. Ms, Henriquez restates, re-alleges and incorporates by reference Paragraphs | through 33,
as set forth above.

35, This count is brought against Camacho, individually, for the use of unreasonable and
excessive force against Ms. Henriquez, including but not limited to use of pepper spray,
punching her in the face, knocking her down and banging her head against the ground
and causing her to sustain injuries including but not limited to a fracture of her left medial
orbital wall.

36, Camacho’s conduct deprived Ms. Henriquez of her clearly established rights including
but not limited to the right to be free from unreasonable force and seizure by police
officers.

37. Camacho’s action as set forth herein were taken with deliberate or reckless disregard for
Ms. Henriquez’s constitutional rights, and were taken under the color of law and without
justification and due process of law.

38, Said conduct obstructed the course of justice and deprived Ms. Henriquez of her federal]

constitutional rights, including but not limited to her substantive due process right to

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equal protection, privacy and bodily integrity under the Fourth and Fourteenth
Amendments, which includes without limitation her rights to be free from intimidation
and humiliation.
As a direct and proximate cause of the aforesaid acts of Camacho, who was acting under
color of law, Ms. Henriquez has suffered and continues to suffer from damages including
but not limited to physical injuries, personal injuries, pain and suffering, mental anguish,
severe humiliation, embarrassment, emotional distress, special damages, degradation,
medical expenses, and other damages, including the necessity of defending against
criminal charges stemming from the incident, which were brought against her without
any merit, and were ultimately dismissed.
COUNT I
(Violation of Civil Rights, 42 U.S.C. §1983)
(Yanil Henriquez v. City and Romero)
Ms. Henriquez restates, re-alleges and incorporates by reference Paragraphs | through 39,
as set forth above.
This count is brought against City and Romero for their above-described civil rights
violations pursuant to 42 U.S.C. §1983.
At all times relevant hereto, Camacho, while an agent, servant, and/or employee of City,
and under the direct supervision and responsibility of Romero, was acting under the color
of law and within the scope of his authority as a police officer pursuant to established
policies, rules, regulations, ordinances, customs, laws and usages of City and Romero.
City and Romero participated in a pattern of acts and omissions of improper supervision,

failure to train, faiture to discipline, and failure to establish protocols and safety measures

 

 
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to protect citizens against behavior known to them to be high risk, namely Camacho and
other Lawrence Police Department Officers’ use of excessive force and/or lack of
appropriate discipline, training and supervision.

As a result of the absence of any adequate supervision, training, monitoring, or discipline
of their Officers, namely Camacho, an individual known to City and Romero as being a
person against whom allegations of excessive force and/or inappropriate behavior had
been made in the past, Ms. Henriquez was deprived of her constitutional rights of due
process and equal protection under the Fourth, Fifth and Fourteenth Amendments,
including without limitation, the substantive right to privacy and bodily integrity.

There was no justification or excuse in law for City’s or Romero’s failure to address or
investigate the prior information evidencing improper, illegal, and/or dangerous conduct
of the members of its police force in general, including but not limited to Camacho.

City and/or Romero knew or should have known of the fact that Lawrence Police
Officers’ had a habit of engaging in excessive force, inappropriate behavior, and conduct
unbecoming police officers, all under color of law, including but not limited to Camacho.
As such, Romero and City knew or should have known that their failure to take
appropriate action to ensure against the continuation of such high risk and dangerous
behavior would result in a likelihood that such behavior would continue to occur, thereby
risking harm to the citizens of Lawrence. Nevertheless, neither City nor Romero took
appropriate steps easily available to them, nor demonstrated any effort or attempt to halt
or protect persons in contact with the police against this continuing course of conduct, in

reckless disregard or deliberate indifference to Ms. Henriquez’ rights.

 

 
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City and Romero’s conduct of deliberate indifference obstructed the course of justice and
deprived Ms, Henriquez of her federai constitutional rights, including but not limited to
her substantive due process right to equal protection, privacy and bodily integrity under
the Fourth, Fifth and Fourteenth Amendments, which includes without limitation her
rights to be free from intimidation and humiliation
City and Romero’s conduct as described herein demonstrates City’s and Romero’s
deliberate indifference to the rights of persons with whom its police officers may come in
contact; said indifference being the direct and proximate cause of Ms. Henriquez’s
damages, including but not limited to her physical injuries, personal injuries, pain and
suffering, mental anguish, severe humiliation, embarrassment, emotional distress, special
damages, degradation, medical expenses, and the and other damages, including the
necessity of defending against criminal charges stemming from the incident, which were
brought against her without any merit, and were ultimately dismissed.
COUNT TH
(Violation of Civil Rights, M.G.L. c. 12 §§1JH AND 111)
(Yanil Henriquez vy. All Defendants)
Ms. Henriquez restates, re-alleges and incorporates by reference Paragraphs | through 48,
as set forth above.
By force, coercion, threats and intimidation, Ms. Henriquez’s civil rights as protected by
the Massachusetts Civil Rights Act, M.G.L. c. 12 §111 have been violated by virtue of
Camacho’s assault and battery and false imprisonment against her, facilitated and
fostered or permitted by the policies, practices, procedures and/or knowing omissions as

set forth herein, which violated her rights to substantive due process and her right to

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privacy including bodily mtegrity.

51. As a direct and proximate cause of this violation, Ms. Henriquez has suffered and
continues to suffer damages, including but not limited to her physical injuries, personal
injuries, pain and suffering, mental anguish, severe humiliation, embarrassment,
emotional distress, special damages, degradation, medical expenses, and other damages,
including the necessity of defending against criminal charges stemming from the
incident, which were brought against her without any merit, and which were ultimately
dismissed,

COUNT IV
Claim Under Massachusetts Law for Assault and Battery Against Camacho
(Yanil Henriquez v. Camacho)

52. Ms. Henriquez restates, re-alleges and incorporates by reference Paragraphs 1 through 51
as set forth above.

53. Camacho committed the common law tort of assault and battery against Ms, Henriquez
when he threatened and applied unreasonable force as described herein, without legal
justification, right, privilege or defense, directly and proximately causing her to have
suffered and continue to suffer damages, including but not limited to physical injuries,
personal injuries, pain and suffering, mental anguish, severe humiliation, embarrassment,
emotional distress, special damages, degradation, medical expenses, and other damages,
including the necessity of defending against criminal charges stemming from the

incident, which were brought against her without any merit, and which were ultimately

dismissed.
COUNT V
KAZAROSIAN (False Imprisonment)
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54. Ms. Henriquez restates, re-alleges and incorporates by reference Paragraphs 1 through 53,
as set forth above.

55, Camacho falsely imprisoned Ms. Henriquez by unlawfully and intentionally confining
her, under color of law, against her will, without legal justification, right, privilege or
defense, directly and proximately causing her to have suffered and continue to suffer
damages, including but not limited to physical injuries, personal injuries, pain and
suffering, mental anguish, severe humiliation, embarrassment, emotional distress, special
damages, degradation, medical expenses, and other damages, including the necessity of
defending against criminal charges stemming from the incident, which were brought
against her without any merit, and which were ultimately dismissed.

COUNT VI
(Intentional Infliction of Emotional Distress)
(Yanil Henriquez vy. Camacho)

56. Ms. Henriquez restates, re-alleges and incorporates by reference Paragraphs 1 through 55,
as set forth above.

57. Camacho intentionally inflicted upon Ms. Henriquez severe emotional distress and
personal injuries by intentionally engaging in the extreme and outrageous conduct
calculated to have a severe impact on their emotional state, or alternatively, engaging in
conduct that Defendants knew or should have known would likely result in
Ms. Henriquez. suffering severe emotional distress as set forth herein, thereby directly and
proximately causing her to have suffered and continue to suffer damages, including but
not limited to physical injuries, personal injuries, pain and suffering, mental anguish,

severe humiliation, embarrassment, emotional distress, special damages, degradation,
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medical expenses, and other damages, including the necessity of defending against
criminal charges stemming from the incident, which were brought against her without
any merit, and were ultimately dismissed,

COUNT VE (Negligent Infiiction of Emotional Distress)
(Yanil Henriquez v. Camacho

58. Ms. Henriquez restates, re-alleges and incorporates by reference Paragraphs | through 57,
as set forth above.

59. Camacho negligently inflicted upon Ms. Henriquez severe emotional distress and
personal injuries by engaging in extreme and outrageous conduct having a severe impact
on Ms. Henriquez’s emotional state, or alternatively, engaging in conduct that the
Defendants knew or should have known would likely result in Ms. Henriquez suffering
emotional distress as set forth herein, thereby directly and proximately causing her to
have suffered and continue to suffer damages, including but not limited to physical
injuries, personal injuries, pain and suffering, mental anguish, severe humiliation,
embarrassment, emotional distress, special damages, degradation, medical expenses, and
other damages, including the necessity of defending against criminal charges stemming
from the incident, which were brought against her without any merit, and were ultimately
dismissed.

COUNT VHI (Claim Under MGL c, 258 for Negligence)
Yanil Henriquez v. City

60. Ms. Henriquez restates, re-alleges and incorporates by reference Paragraphs 1 through 59,
as set forth above.
61. Acting within his employment by City, Camacho negligently used excessive force against

Ms. Henriquez, as set forth herein,

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described herein.
DEMANDS FOR RELIEF

WHEREFORE, the Plaintiff respectfully requests that this Honorable Court:

A. Award compensatory and special damages to Plaintiff against the Defendants jomtly and
severally;
B. Award punitive damages to Plaintiff against Defendants jointly and severally;
C. Award reasonable attorney’s fees and costs to Plaintiff; and
dD. Award any other relief as this Court deems just and equitable.
JURY DEMAND

Plaintiff demands a trial by jury on all counts.

Respectfully submitted,
Yanil Henriquez
By her attorneys,

W/f-——

Marsha V, Kahrosian, Esquire
BBO #2626

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Date: December 18, 2014

VERIFICATION

THIS COMPLAINT IS PERSONALLY SIGNED BY THE PLAINTIFFS UNDER THE PAINS
AND PENALTIES OF PERJURY AND IS TRUE AND ACCURATE TO THE BEST OF THEIR

KNOWLEDGE, INFORMATION, AND BELIEF.
dBase,

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